1 Reported in 297 N.W. 765.
In this case (submitted with In re Estate of Palm, 210 Minn. 77,297 N.W. 765) Leonard Eriksson appeals from the judgment surcharging his account as general administrator of the estate of Amelia Palm. She was the wife of August Palm, whose estate is subject matter of the litigation and decision in the other case, and she perished with him in the Fergus Falls cyclone of 1919.
October 7, 1919, appellant collected $2,021.52 under a policy insuring the life of Mr. Palm in which Mrs. Palm was the beneficiary. He admits that he is chargeable with that sum as of that date but now insists, and this is his whole case, that he should be charged in the other estate, that of the husband, rather than in this one, that of the wife. The beneficiaries of the two are identical, the four children of the deceased Palms. It is utterly *Page 88 
immaterial whether Eriksson is charged with the amount in the one or the other estate. Therefore, the question is moot, and he has no ground upon which to argue that it was error to make the charge in this estate.
Judgment affirmed.